                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

UNITED STATES OF AMERICA                                    )
     Plaintiff,                                             )
                                                            )
v.                                                          )      CASE NO. 3:02CR156-6
                                                            )      (Financial Litigation Unit)
ALICE GREEN,                                                )
     Defendant,                                             )
                                                            )
and                                                         )
                                                            )
D & E CLEANING COMPANY.                                     )
                   Garnishee.                               )

                       ORDER OF CONTINUING GARNISHMENT

       The United States obtained a judgment against Defendant, Alice Green, on October 16, 2003,

in the amount of $10,000,100.00. Subsequently, the United States sought to garnish Alice Green's

wages. On August 9, 2006, the Court entered a Writ of Continuing Garnishment ("Writ") to

Garnishee, D & E Cleaning Company. ("garnishee"). The United States is entitled to a wage

garnishment of up to 25% of Alice Green's net income and has satisfied the prerequisites set forth

in 15 U.S.C. §1673.

        (The defendant was served with the writ of garnishment on August 11, 2006 and the

garnishee was served on September 2, 2006. No answer has been filed by either the garnishee or

defendant.)

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $9,998,900.00 computed through October 11, 2006. The garnishee will

pay the United States up to 25% of Alice Green's net earnings which remain after all deductions

required by law have been withheld and 100% of all 1099 payments, and the garnishee will continue




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said payments until the debt to the plaintiff is paid in full or until the garnishee no longer has

custody, possession or control of any property belonging to Alice Green or until further Order of this

court.

         Payments should be made payable to the United States Clerk of Court and mailed to the US

Clerk of Court, 401 West Trade Street, Charlotte, NC 28202. In order to ensure that each payment

is credited properly, the following should be included on each check: Alice Green, Court Number

3:02cr156-6.

         The plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the defendant would normally receive may be

offset and applied to this debt.


                                                  Signed: October 12, 2006




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                                  CERTIFICATE OF SERVICE
       I certify that on October 12, 2006, the foregoing proposed Order of Continuing Garnishment
was served upon the parties listed below by electronic mail and/or mailing a copy thereof, postage
prepaid and properly addressed at the last known address as follows:

Alice Green
616 Lightspun Lane
Charlotte, NC 28269

D & E Cleaning Co.
5305 Harris Cove Drive
Charlotte, NC 28269



                              GRETCHEN C.F. SHAPPERT, UNITED STATES ATTORNEY
                              s/ Jennifer A. Youngs
                              Assistant United States Attorney
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